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                                         Application GRANTED. Deposition discovery (including non-party
October 14, 2022
                                         depositions) and all expert discovery are stayed until the resolution
                                         of the pending motion to dismiss. At that time, the parties will
VIA CM/ECF                               have at most 60 days to complete any remaining discovery. No
                                         extensions will be granted absent extraordinary circumstances.
The Honorable Lorna G. Schofield
                                         The deadline for the parties to complete production of responsive
United States District Court
Southern District of New York            documents is extended to December 8, 2022.
500 Pearl Street
New York, New York 10007                 Dated: October 17, 2022
(202) 805-0288                                  New York, New York

         Re:   Match Group, LLC v. Beazley Underwriting Limited,
               Case No. 1:22-cv-04629-LGS (S.D.N.Y. filed June 3, 2022)
               Letter Requesting Stay of Discovery

Dear Judge Schofield:

        Plaintiff Match Group, LLC (“Match”) and defendant Beazley Underwriting, Ltd.
(“Beazley” and, together with Match, the “Parties”) write to respectfully request that the Court
stay discovery in part pending resolution of Beazley’s Motion to Dismiss. Beazley previously
requested a stay of all discovery in its pre-motion letter to the Court. (ECF No. 15.) Match opposed
that request (ECF No. 19); and the Court denied it (ECF No. 20). However, the Parties now agree
to seek a stay of discovery, and therefore they respectfully submit this joint letter.

        This case is an insurance coverage dispute. Beazley moved to dismiss on September 2,
2022 (ECF No. 33–34), Match opposed on September 28, 2022 (ECF No. 36), and Beazley filed
its reply on October 7, 2022 (ECF No. 38).

         Under the governing Case Management Plan and Scheduling Order (“Scheduling Order”),
all fact discovery is to be completed by December 8, 2022. (ECF No. 30, at ¶ 8(a).) There are also
numerous interim deadlines, including a requirement that the parties complete production of
responsive documents by November 3, 2022. (Id.) In accordance with the Scheduling Order and
its interim deadlines, the Parties have each served initial disclosures, requests for production of
documents, responses and objections to the requests for production of documents, and
interrogatories. The Parties also have begun collecting and reviewing documents for production.
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        After reviewing the fully briefed Motion to Dismiss, the Parties now ask the Court to stay
deposition discovery (including non-party depositions) and all expert discovery until after the
Court decides the pending motion. This partial stay would serve the interests of judicial economy,
because it would avoid potentially unnecessary costs for the Parties and for non-party witnesses.
If the Motion to Dismiss is granted, then there would be no need to require numerous witnesses
(both party and non-party) to give testimony in the case. Alternatively, if the Motion to Dismiss is
denied, Match takes the position that its threshold argument in opposition (if endorsed by the
Court) would limit the scope of discovery to damages and possibly obviate the need for trial. (See
ECF No. 36, at 1.) Thus, it appears there is a narrowed set of outcomes from the Motion to Dismiss
that would result in the need to complete full merits discovery in this case. The Parties also
represent to the Court that they can complete all deposition discovery, including any expert
discovery, within 60 days of the Court’s ruling on the Motion to Dismiss, thereby ensuring any
delay would be minimal.

        In addition, the Parties respectfully request that the Court extend the November 3, 2022
deadline to complete production of responsive documents to December 8, 2022. The Parties
request this additional time because two non-parties to this action possess a significant number of
potentially relevant documents—namely, IAC Inc., f/k/a IAC/InterActiveCorp (Match’s former
parent company) and Marsh USA Inc. (IAC’s insurance broker during the relevant time). Both
IAC and Marsh have indicated that it is unlikely that they will be able to complete their productions
by the current November 3, 2022 deadline, hence this request for an extension.

        We recognize that the Court generally does not stay discovery for dispositive motions. We
respectfully ask the Court to grant this partial stay because (1) both Parties are making the request,
(2) the request is narrowly tailored to avoid potentially unnecessary costs for witnesses and non-
parties, and (3) the Parties will continue to work toward completion of all document and written
discovery during the pendency of the Motion to Dismiss.

       We thank the Court for its consideration of this matter.

                                                              Respectfully Submitted,

                                                              /s/ Jonathan S. Zelig

                                                              Jonathan S. Zelig


cc:    All counsel of record (via CM/ECF)
